Case No. 1:23-cv-03281-DDD-MDB   Document 1   filed 12/13/23   USDC Colorado   pg
                                    1 of 15
Case No. 1:23-cv-03281-DDD-MDB   Document 1   filed 12/13/23   USDC Colorado   pg
                                    2 of 15
Case No. 1:23-cv-03281-DDD-MDB   Document 1   filed 12/13/23   USDC Colorado   pg
                                    3 of 15
Case No. 1:23-cv-03281-DDD-MDB   Document 1   filed 12/13/23   USDC Colorado   pg
                                    4 of 15
Case No. 1:23-cv-03281-DDD-MDB   Document 1   filed 12/13/23   USDC Colorado   pg
                                    5 of 15
Case No. 1:23-cv-03281-DDD-MDB   Document 1   filed 12/13/23   USDC Colorado   pg
                                    6 of 15
Case No. 1:23-cv-03281-DDD-MDB   Document 1   filed 12/13/23   USDC Colorado   pg
                                    7 of 15
Case No. 1:23-cv-03281-DDD-MDB   Document 1   filed 12/13/23   USDC Colorado   pg
                                    8 of 15
Case No. 1:23-cv-03281-DDD-MDB   Document 1   filed 12/13/23   USDC Colorado   pg
                                    9 of 15
Case No. 1:23-cv-03281-DDD-MDB   Document 1   filed 12/13/23   USDC Colorado   pg
                                   10 of 15
Case No. 1:23-cv-03281-DDD-MDB   Document 1   filed 12/13/23   USDC Colorado   pg
                                   11 of 15
Case No. 1:23-cv-03281-DDD-MDB   Document 1   filed 12/13/23   USDC Colorado   pg
                                   12 of 15
Case No. 1:23-cv-03281-DDD-MDB   Document 1   filed 12/13/23   USDC Colorado   pg
                                   13 of 15
Case No. 1:23-cv-03281-DDD-MDB   Document 1   filed 12/13/23   USDC Colorado   pg
                                   14 of 15
Case No. 1:23-cv-03281-DDD-MDB   Document 1   filed 12/13/23   USDC Colorado   pg
                                   15 of 15
